      Case: 1:19-cv-05739 Document #: 4 Filed: 08/27/19 Page 1 of 4 PageID #:34




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


  FEDERAL TRADE COMMISSION,

          Plaintiff,                               Case No. 1:19-cv-5739

          v.                                       Judge Elaine E. Bucklo

  CAREER EDUCATION                                 Magistrate Judge Jeffrey Cummings
  CORPORATION, et al.,

          Defendants.



              JOINT MOTION FOR ENTRY OF STIPULATED ORDER
           FOR PERMANENT INJUNCTION AND MONETARY JUDGMENT

       Plaintiff, the Federal Trade Commission (“FTC”), and Defendants, Career Education

Corporation, American InterContinental University, Inc., AIU Online, LLC, Marlin Acquisition

Corp., Colorado Technical University, Inc., and Colorado Tech., Inc (collectively “CEC”),

jointly move this Court for entry of the Stipulated Order for Permanent Injunction and Monetary

Judgment (“Stipulated Final Order”) reached through settlement negotiations between the

parties, which would resolve this case. The parties request entry of the Stipulated Final Order

pursuant to Sections 13(b), 19(a)(1) and (b) (authorizing relief, including “such relief as the court

finds necessary to redress injury to consumers” for violations of any Commission Rule

respecting unfair or deceptive practices), and 16(a)(1) of the Federal Trade Commission Act

(“FTC Act”), 15 U.S.C. §§ 53(b), 57b, and 56(a)(1), and the Telemarketing and Consumer Fraud

and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C. § 6101 et seq. In support of this

motion, the FTC and CEC state as follows:




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      Case: 1:19-cv-05739 Document #: 4 Filed: 08/27/19 Page 2 of 4 PageID #:34




       1.      The FTC filed its Complaint for Permanent Injunction and Other Equitable Relief

on August 23, 2019, alleging that CEC had violated Section 5(a) of the FTC Act, 15 U.S.C. §

45(a), Sections 310.3 and 310.4 of the Telemarketing Sales Rule, 16 C.F.R. §§ 310.3, 310.4, and

other federal laws. [Dkt. 1]

       2.      The Stipulated Final Order has been signed by CEC and its counsel. The

Stipulated Final Order also has been approved by the FTC’s Commissioners and signed by

counsel for the FTC.

       WHEREFORE, Plaintiff FTC and CEC respectfully request that the Court enter the

Stipulated Final Order.

                                                   Respectfully submitted,

 August 27, 2019                                   /s/ Leah Frazier
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    Case: 1:19-cv-05739 Document #: 4 Filed: 08/27/19 Page 3 of 4 PageID #:34




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      Case: 1:19-cv-05739 Document #: 4 Filed: 08/27/19 Page 4 of 4 PageID #:34




                                CERTIFICATE OF SERVICE

       I, Leah Frazier, an attorney, hereby certify that on August 27, 2019, I caused to be served

true copies of the foregoing Joint Motion for Entry of Stipulated Order for Permanent Injunction

and Monetary Order through the CM/ECF System and, with the written consent of counsel, by e-

mail on counsel for Defendants Career Education Corp., American InterContinental University,

Inc., AIU Online, LLC, Marlin Acquisition Corp., Colorado Tech., Inc., and Colorado Technical

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